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                                                      U.S. Department of Justice

                                                      Andrew E. Lefling
                                                      United States Attorney
                                                      District of Massachusetts


Main Reception: (617) 748-3100                        John Joseph Moakley United States Courthouse
                                                      1 Courthouse Way
                                                      Suite 9200
                                                      Boston, Massachusetts 02210

                                                      October 11,2019

Michael J. Pineault, Esq.
Clements & Pineault LLP
24 Federal Street
Boston, MA 02110

       Re:      United States v. Martin Fox

Dear Mr. Pineault:

        The United States Attorney for the District of Massachusetts ("the U.S. Attorney") and your
client, Martin Fox ("Defendant"), agree as follows, pursuant to Federal Rule of Criminal Procedure
11(c)(1)(B):

       1.       Change of Plea

       No later than November 20, 2019, Defendant will plead guilty to Count One of the
Indictment, charging him with conspiracy to commit racketeering, in violation of Title 18, United
States Code, Section 1962(d). Defendant admits that he committed the crime specified in that
count and is in fact guilty of that crime. Defendant also agrees to waive venue, to waive any
applicable statute of limitations, and to waive any legal or procedural defects in the Indictment.
Defendant does not dispute the accuracy of the Indictment.

       The U.S. Attorney agrees that, based upon the information known to the U.S. Attorney's
Office at this time, no further criminal charges will be brought against Defendant in connection
with the conduct set forth in the Indictment.

       2.       Penalties

        Defendant faces the following maximum penalties: incarceration for 20 years; supervised
release for three years; a fine of $250,000, or twice the gross gain or loss, whichever is greater; a
mandatory special assessment of $100; restitution; and forfeiture to the extent charged in the
Indictment.
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       3.       Sentencing Guidelines

        The parties agree, based on the following calculations, that Defendant's total "offense
level" under the Guidelines is 16:

                a) Defendant's base offense level is 19, because Defendant has been convicted of
                   racketeering (USSG §§ 2E1.1(a)(1)); and,

                b) Defendant's offense level is decreased by 3, because Defendant has accepted
                   responsibility for his crime (USSG § 3E1.1).

       Defendant understands that the Court is not required to follow this calculation, and that
Defendant may not withdraw his guilty plea if Defendant disagrees with how the Court calculates
the Guidelines or with the sentence the Court imposes.

        Defendant also understands that the government will object to any reduction in his sentence
based on acceptance of responsibility if: (a) at sentencing, Defendant (him or through counsel)
indicates that he does not fully accept responsibility for the crime he is pleading guilty to
committing; or (b) by the time of sentencing, Defendant has committed a new federal or state
offense, or has in any way obstructed justice.

       If, after signing this Agreement, Defendant's criminal history score or Criminal History
Category is reduced, the U.S. Attorney reserves the right to seek an upward departure under the
Guidelines.

       Nothing in this Plea Agreement affects the U.S. Attorney's obligation to provide the Court
and the U.S. Probation Office with accurate and complete information regarding this case.

       4.       Sentence Recommendation

       The U.S. Attorney agrees to recommend the following sentence to the Court:

                a) incarceration at the low end of the Guidelines as calculated by the parties in
                   Paragraph 3;

                b) a fine or other financial penalty within the Sentencing Guidelines range;

                c) 12 months of supervised release;

                d) a mandatory special assessment of $100, which Defendant must pay to the Clerk
                   of the Court by the date of sentencing;

                e) restitution in an amount to be determined by the Court at sentencing; and

                f) forfeiture as set forth in Paragraph 6.

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        5.       Waiver of Appellate Rights and Challenges to Conviction or Sentence

        Defendant has the right to challenge his conviction and sentence on "direct appeal." This
means that Defendant has the right to ask a higher court (the "appeals court") to look at what
happened in this case and, if the appeals court finds that the trial court or the parties made certain
mistakes, overturn Defendant's conviction or sentence. Also, in some instances, Defendant has
the right to file a separate civil lawsuit claiming that serious mistakes were made in this case and
that his conviction or sentence should be overturned.

       Defendant understands that he has these rights, but now agrees to give them up.
Specifically, Defendant agrees that:

                 a) He will not challenge his conviction on direct appeal or in any other proceeding,
                    including in a separate civil lawsuit; and,

                 b) He will not challenge any prison sentence of 27 months or less or any court
                    orders relating to forfeiture, restitution, fines or supervised release. This
                    provision is binding even if the Court's Guidelines analysis is different than the
                    one in this Agreement.

       The U.S. Attorney agrees that, regardless of how the Court calculates Defendant's
sentence, the U.S. Attorney will not appeal any sentence of imprisonment of 21 months or more.

         Defendant understands that, by agreeing to the above, he is agreeing that his conviction
and sentence (to the extent set forth in subparagraph (b), above) will be final when the Court issues
a written judgment after the sentencing hearing in this case. That is, after the Court issues a written
judgment, Defendant will lose the right to appeal or otherwise challenge his conviction and
sentence (to the extent set forth in subparagraph (b), above), regardless of whether he later changes
his mind or finds new information that would have led him not to agree to give up these rights in
the first place.

      Defendant acknowledges that he is agreeing to give up these rights at least partly in
exchange for concessions the U.S. Attorney is making in this Agreement.

        The parties agree that, despite giving up these rights, befendant keeps the right to later
claim that his lawyer rendered ineffective assistance of counsel, or that the prosecutor or a member
of law enforcement involved in the case engaged in intentional misconduct serious enough to
entitle Defendant to have his conviction or sentence overturned.

        6.       Forfeiture

       Defendant understands that the Court will, upon acceptance of Defendant's guilty plea,
enter an order of forfeiture as part of Defendant's sentence, and that the order of forfeiture may
include assets directly traceable to Defendant's offense, assets used to facilitate Defendant's

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offense, substitute assets and/or a money judgment equal to the value of the property derived from,
or otherwise involved in, the offense.

       The assets to be forfeited specifically include, without limitation, the following:

               a. $217,961.23 seized on or about March 12, 2019 from Bank of America account
                  number ending in x1470, held in the name of Martin Fox ("Seized Funds"); and

               b. $245,000 in United States currency, to be entered in the foim of an Order of
                  Forfeiture (Money Judgment).

Defendant admits that these assets are subject to forfeiture on the grounds that they constitute, or
are derived from, proceeds of Defendant's offense.

        Defendant also admits that $245,000 is subject to forfeiture on the grounds that it is equal
to the amount of proceeds the defendant derived from the offense. The Seized Funds shall be
applied towards the forfeiture Money Judgment.

         Defendant acknowledges and agrees that the amount of the forfeiture money judgment
represents proceeds the Defendant obtained (directly or indirectly), and/or facilitating property
and/or property involved in, the crimes to which Defendant is pleading guilty and that, due at least
in part to the acts or omissions of Defendant, the proceeds or property have been transferred to, or
deposited with, a third party, spent, cannot be located upon exercise of due diligence, placed
beyond the jurisdiction of the Court, substantially diminished in value, or commingled with other
property which cannot be divided without difficulty. Accordingly, Defendant agrees that the
United States is entitled to forfeit as "substitute assets" any other assets of Defendant up to the
value of the now missing directly forfeitable assets.

        Defendant agrees to consent to the entry of an order of forfeiture for such property and
waives the requirements of Federal Rules of Criminal Procedure 11(b)(1)(J), 32.2, and 43(a)
regarding notice of the forfeiture in the charging instrument, advice regarding the forfeiture at the
change-of-plea hearing, announcement of the forfeiture at sentencing, and incorporation of the
forfeiture in the judgment. Defendant understands and agrees that forfeiture shall not satisfy or
affect any fine, lien, penalty, restitution, cost of imprisonment, tax liability or any other debt owed
to the United States.

        If the U.S. Attorney requests, Defendant shall deliver to the U.S. Attorney within 30 days
after signing this Plea Agreement a sworn financial statement disclosing all assets in which
Defendant currently has any interest and all assets over which Defendant has exercised control, or
has had any legal or beneficial interest. Defendant further agrees to be deposed with respect to
Defendant's assets at the request of the U.S. Attorney. Defendant agrees that the United States
Department of Probation may share any financial information about the Defendant with the United
States Attorney's Office.


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        Defendant also agrees to waive all constitutional, legal, and equitable challenges (including
direct appeal, habeas corpus, or any other means) to any forfeiture carried out in accordance with
this Plea Agreement.

        Without limiting the generality of the foregoing, Defendant hereby specifically waives and
releases Defendant's claims to the Seized Funds seized by, or turned over to, the Federal Bureau
of Investigation on or about March 12, 2019, as to which, Defendant hereby acknowledges,
Defendant received actual notice of administrative or civil judicial forfeiture proceedings on May
10, 2019.

        Defendant hereby waives and releases any claims Defendant may have to any vehicles,
cunency, or other personal property seized by the United States, or seized by any state or local law
enforcement agency and turned over to the United States, during the investigation and prosecution
of this case, and consents to the forfeiture of all such assets.

         7.    Civil Liability

        This Plea Agreement does not affect any civil liability, including any tax liability,
Defendant has incurred or may later incur due to his criminal conduct and guilty plea to the charge
specified in Paragraph 1 of this Agreement.

         8.    Breach of Plea Agreement

       Defendant understands that if he breaches any provision of this Agreement, Defendant
cannot use that breach as a reason to withdraw his guilty plea. Defendant's breach, however, would
give the U.S. Attorney the right to be released from his commitments under this Agreement, and
would allow the U.S. Attorney to pursue any charges that were, or are to be, dismissed under this
Agreement.

        If Defendant breaches any provision of this Agreement, the U.S. Attorney would also have
the right to use against Defendant any of Defendant's statements, and any information or materials
he provided to the government during investigation or prosecution of his case. The U.S. Attorney
would have this right even if the parties had entered any earlier written or oral agreements or
understandings about this issue.

       Finally, if Defendant breaches any provision of this Agreement, he thereby waives any
defenses based on the statute of limitations, constitutional protections against pre-indictment delay,
and the Speedy Trial Act, that Defendant otherwise may have had to any charges based on conduct
occurring before the date of this Agreement.

         9.    Who is Bound by Plea Agreement

         This Agreement is only between Defendant and the U.S. Attorney for the District of
Massachusetts. It does not bind the Attorney General of the United States or any other federal,
state, or local prosecuting authorities.
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         10.   Modifications to Plea Agreement

       This Agreement can be modified or supplemented only in a written memorandum signed
by both parties, or through proceedings in open court.



       If this letter accurately reflects the agreement between the U.S. Attorney and Defendant,
please have Defendant sign the Acknowledgment of Plea Agreement below. Please also sign
below as Witness. Return the original of this letter to Assistant U.S. Attorney Eric S. Rosen.

                                            Sincerely,

                                            ANDREW E. LELLING
                                            United States Attorney


                                    By:
                                                     N E. FRANK
                                            Chief, Securities and Financial Fraud Unit
                                            JORDI DE LLANO
                                            Dep ty cAiief, Securities and Financial Fraud Unit



                                            ERIC S. ROSEN
                                            JUSTIN D. O'CONNELL
                                            LESLIE A. WRIGHT
                                            KRISTEN A. KEARNEY
                                            Assistant U.S. Attorneys




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